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         IN THE UNITED STATES DISRICT COURT FOR THE
             WESTERN DISTRICT OF PENNSYLVANIA

SCREEN ACTORS GUILD – AMERICAN     :
FEDERATION OF TELEVISION AND RADIO :
ARTISTS, AFL-CIO                   : Civil Action
625 Stanwix Street, Suite 2007     : No. 2-cv-455
Pittsburg, PA 15222,               :
        Plaintiff                  :
                                   :
        v.                         : The Honorable
                                   : Maureen P. Kelly
SHERIDAN BROADCASTING NETWORKS ;
715 Ambrose Avenue                 :
Pittsburgh, PA 15232,              :
                                   :
        and                        :
                                   :
SHERIDAN BROADCASTING              :
CORPORATION                        :
715 Ambrose Avenue                 :
Pittsburgh, PA 15232,              :
                                   :
        and                        :
                                   :
RONALD DAVENPORT, JR.              :
715 Ambrose Avenue                 :
Pittsburgh, PA 15232               :
                                   :
        and                        :
                                   :
RONALD DAVENPORT, SR.              :
5837 Soloway Street                :
Pittsburgh, PA 15217               :
                      Defendants   :


                PLAINTIFF’S MOTION FOR
    JUDGMENT ON THE PLEADINGS UNDER FED. R. CIV. P. 12(c)


      Plaintiff, Screen Actors Guild – American Federation of Television and Radio

Artists, AFL-CIO (“SAG-AFTRA” or “Union”), by and through its attorneys, Markowitz




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& Richman, hereby files the instant motion for judgment on the under Federal Rule of

Civil Procedure 12(c) and states as follows:

       1. Plaintiff Union initiated this action by way of Complaint on April 6, 2018.

       2. The Union filed its Complaint        against Sheridan Broadcasting Networks

           (“SBN”) and Sheridan Broadcasting Corporation (“SBC”) to enforce a labor

           arbitration award and against the Employer and individual defendants, Ronald

           Davenport Jr. (“Junior”) and Ronald Davenport, Sr. (“Senior”) for violations

           of the Pennsylvania Wage Payment and Collection Law (“WPCL”),

           (“WPCL”), Act of July 14, 1961, P. L. 637, §1et seq.; 43 P.S. §260.1, et seq..

           Additionally, the Union filed a Complaint against Defendants for conversion

           for failure to remit to the Union dues to be withheld from members’

           paychecks. (See Attached Complaint)

       3. On February 2, 2018 Arbitrator Dennis Minni, mutually chosen by the Union

           and SBN to adjudicate a complaint over failure to pay members of the Union

           certain amounts owed, issued an Opinion and Award, sustained the Union’s

           grievance and awarded Plaintiff unpaid wages, benefits, wage increases,

           reimbursements and union dues wrongfully withheld.

       4. Defendants failed to either comply with the Arbitration Award or move to set

           it aside.

       5. After failing to comply with the Arbitration Award the Union filed a

           Complaint. Defendants’ Answer admitted the validity of the Arbitration

           Award and the liability of Defendants for having failed to comply with the

           Award.



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        6. Accordingly, for these reasons and for the reasons set forth in Plaintiff’s

             accompanying brief, which is incorporated hereto by reference as if fully set

             forth herein, Plaintiff is entitled to a Judgment on the Pleadings in its favor as

             a matter of law.

             WHEREFORE, For the foregoing reasons, Plaintiff’s Motion for Judgment on

the Pleadings should be granted in its entirety, and Plaintiff awarded $333,327.64

consisting of damages and liquidated damages, as well as reasonable attorneys’ fees and

costs and such other relief as id deemed suitable by the Court.

                                                       Respectfully submitted:

                                   BY:        /S/ PHD Peter H. Demkovitz
                                                         Peter Demkovitz, Esquire
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    Dated:      March 12, 2019




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